                          Case: 1:25-cv-00130-DAR Doc #: 1-2 Filed: 01/22/25 1 of 1. PageID #: 18                                                                                                f
JS 44 (Rev. 03/24)                                                         CIVIL COVER SHEET                                           :2!j               CVOO5


The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS
                                Kai~~1P1~
                                                        +     O~ww                                            DEFENDANTS C U                                  Lq (AV1t             '. .. 7

                                                          b
     (b)   County of Residence of First Listed Plaintiff  1f                                                  County of Residence of First Listed Defendant   CAyx'v.pgo
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)      JU
                                                                                                              NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

     (C) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an 'X" in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "x" in One Boxfor Plaint
                                                                                                           (For Diversity Cases Only)                                  and One Box for Defendant)
❑ 1     U.S. Government                 ❑3    Federal Question                                                                      PTF      DEF                                         PTF      DEF
          Plaintiff                             (U.S. Government Not a Party)                        Citizen of This State         ® 1         I      Incorporated or Principal Place     ❑ 4 ~4
                                                                                                                                                        of Business In This State

~2      U.S. Government                 ❑ 4   Diversity                                              Citizen of Another State       ❑    2   ❑    2   Incorporated and Principal Place       ❑   5   ❑5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                     Citizen or Subject of a        ❑3       ❑    3   Foreign Nation                         ❑   6   ❑6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an "x" in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                    OTHER STATUTES
     110 Insurance                    PERSONAL INJURY               PERSONAL INJURY         625 Drug Related Seizure       = 422 Appeal 28 USC 158      ]  375 False Claims Act
_    120 Marine                       310 Airplane               •365 Personal Injury -         of Property 21 USC 881 _      423 Withdrawal            ]  376 Qui Tam (31 USC
_    130 Miller Act                 J 315 Airplane Product              Product Liability   690 Other                             28 USC 157                   3729(a))
_    140 Negotiable Instrument             Liability             •367 Health Care/                                              INTELLECTUAL            _~ 400 State Reapportionment
•    150 Recovery of Overpayment      320 Assault, Libel &              Pharmaceutical                                         PROPERTY RIGHTS             410 Antitrust
         & Enforcement of Judgment         Slander                      Personal Injury                                    •820 Copyrights              _ 430 Banks and Banking
•    151 Medicare Act                 330 Federal Employers'            Product Liability                                  •830 Patent                  _ 450 Commerce
•    152 Recovery of Defaulted             Liability             •368 Asbestos Personal                                    •835 Patent - Abbreviated    _ 460 Deportation
          Student Loans               340 Marine                        Injury Product                                            New Drug Application _ 470 Racketeer Influenced and
         (Excludes Veterans)        J 345 Marine Product                Liability                                          •  840 Trademark                    Corrupt Organizations
•    153 Recovery of Overpayment           Liability             _PERSONAL PROPERTY                   LABOR                •  880 Defend Trade Secrets     480 Consumer Credit
         of Veteran's Benefits        350 Motor Vehicle          _ 370 Other Fraud          710 Fair Labor Standards              Act of 2016                  (15 USC 1681 or 1692)
•    160 Stockholders' Suits          355 Motor Vehicle          _ 371 Truth in Lending         Act                                                     1 485 Telephone Consumer
•    190 Other Contract                   Product Liability      • 380 Other Personal     1 720 Labor/Management               SOCIAL SECURITY                 Protection Act
     195 Contract Product Liability 1 360 Other Personal                Property Damage         Relations                  •  861 HIA (1395ff)          ]  490 Cable/Sat TV
_    196 Franchise                        Injury                 •385 Property Damage     ] 740 Railway Labor Act          •  862 Black Lung (923)      ]  850 Securities/Commodities/
                                   1  362 Personal Injury -
                                          Medical Malpractice
                                                                        Product Liability ] 751 Family and Medical
                                                                                                Leave Act
                                                                                                                           •863 DIWC/DIW W (405(g))
                                                                                                                           •864 SSID Title XVI
                                                                                                                                                               Exchange
                                                                                                                                                        1 890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS        790 Other Labor Litigation     •865 RSI (405(g))               891 Agricultural Acts
J 210 Land Condemnation             J 440 Other Civil Rights        Habeas Corpus:        1 791 Employee Retirement                                        893 Environmental Matters
• 220 Foreclosure                   2 441 Voting                 1 463 Alien Detainee           Income Security Act           FEDERAL TAX SUITS            895 Freedom of Information
  230 Rent Lease & Ejectment        ] 442 Employment             ❑ 510 Motions to Vacate                                   •  870 Taxes (U.S. Plaintiff        Act
= 240 Torts to Land
_ 245 Tort Product Liability
                                    ] 443 Housing/
                                          Accommodations
                                                                        Sentence
                                                                 2 530 General
                                                                                                                                  or Defendant)
                                                                                                                           •871 IRS—Third Party
                                                                                                                                                        ]
                                                                                                                                                        ]
                                                                                                                                                           896 Arbitration
                                                                                                                                                           899 Administrative Procedure
• 290 All Other Real Property       2 445 Amer. w/Disabilities - 2 535 Death Penalty            IMMIGRATION                        26 USC 7609                 Act/Review or Appeal of
                                          Employment             _ Other:                   462 Naturalization Application                                     Agency Decision
                                    ❑ 446 Amer. w/Disabilities - _ 540 Mandamus & Other     465 Other Immigration                                       2 950 Constitutionality of
                                          Other                  _ 550 Civil Rights             Actions                                                        State Statutes
                                    2 448 Education              _ 555 Prison Condition
                                                                    560 Civil Detainee.
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN (Place an "X" in One Box Only)
  1 Original              ❑2
                     Removed from                         ❑ 3       Remanded from               ❑ 4 Reinstated or
                                                                                                                       ❑ 5 Transferred from           ❑   6 Multidistrict
                                                                                                                                                                                  ❑ 8 Multidistrict
    Proceeding       State Court                                    Appellate Court                 Reopened               Another District                 Litigation -              Litigation -
                                                                                                                                (specify)                   Transfer                     Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                    t)SC of 2 c.ehh,✓2 Focce 0.+/i                                                         s?cal b`u - \4*y bye V r ft 'A 0AF°1t(
VI. CAUSE OF ACTION Brief description of cause: W 0.5 A4 iO.t l,lkp d                                  day     .. C OV 2- -4 0 A5 O e              PA
                                                                                                                                                  LA


VII. REQUESTED IN    ❑   CHECK IF THIS IS A CLASS ACTION                                                DEMAND $ 15 (1j000                        CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                 JURY DEMAND:                 ]Yes          ❑No

VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER

DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD


    FOR OFFICE USE ONLY

      RECEIPT 6                  AMOUNT                                      APPLYING IFP                                      JUDGE                          MAG. JUDGE
